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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                 Chapter 11

FTX TRADING LTD., et al., 1                           Case No. 22-11068 (JTD)

         Debtors.                                      (Jointly Administered)

                                                       Hearing Date: April 17, 2025 at 10:00 a.m. (ET)
                                                       Objection Deadline: January 31, 2025 at 4:00 p.m. (ET)



                           NOTICE OF FINAL FEE APPLICATION

         TO:     (a) the Office of the United States Trustee; (b) counsel to the Official Committee
                 of Unsecured Creditors; (c) the Fee Examiner; and (d) all other parties required to
                 be given notice pursuant to the Interim Compensation Order.

        On the date hereof, Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn Emanuel”) filed
the Final Fee Application of Quinn Emanuel Urquhart & Sullivan, LLP for Services Rendered and
Reimbursement of Expenses for the Period from November 13, 2022 Through and Including
October 8, 2024 (the “Final Fee Application”) 2 with the United States Bankruptcy Court for the
District of Delaware.

       Objections (the “Objections”), if any, to the Final Fee Application must be made in
accordance with the Order Establishing Procedures for Interim Compensation and
Reimbursement of Expenses of Professionals [D.I. 435] (the “Interim Compensation Order”).
Objections must be served on the following parties so as to be received no later than 4:00 p.m. ET
on January 31, 2025 (the “Objection Deadline”):

         (i) counsel to the Debtors, (a) Sullivan & Cromwell LLP, 125 Broad Street, New
         York, New York 10004, Attn: Christian P. Jensen (jensenc@sullcrom.com) and
         (b) Landis Rath & Cobb LLP, 919 Market Street, Suite 1800, Wilmington,
         Delaware 19801, Attn: Adam G. Landis (landis@lrclaw.com) and Kimberly A.

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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification
    number are 3288 and 4063 respectively. Due to the large number of debtor entities in these
    Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax
    identification numbers is not provided herein. A complete list of such information may be
    obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity
    Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s,
    Antigua and Barbuda.
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    Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to
    them in the Application.
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     Brown (brown@lrclaw.com); (ii) counsel to the Committee, (a) Paul Hastings LLP,
     200 Park Avenue, New York, New York 10166, Attn: Kris Hansen
     (krishansen@paulhastings.com), Erez Gilad (erezgilad@paulhastings.com), and
     Gabriel Sasson (gabesasson@paulhastings.com) and (b) Young Conaway Stargatt
     & Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington, Delaware
     19801, Attn: Matthew B. Lunn (mlunn@ycst.com) and Robert F. Poppiti, Jr.
     (rpoppiti@ycst.com); (iii) the U.S. Trustee, 844 King Street, Suite 2207,
     Wilmington,        Delaware      19801,       Attn:     Linda       Richenderfer
     (linda.richenderfer@usdoj.gov); (iv) the Fee Examiner and her counsel, Godfrey &
     Kahn, S.C., One East Main Street, Suite 500, Madison, Wisconsin 53705, Attn:
     Katherine Stadler (FTXFeeExaminer@gklaw.com) and Mark Hancock
     (mhancock@gklaw.com); and (v) Quinn Emanuel Urquhart & Sullivan, LLP, 295
     Fifth Avenue, New York, New York 10016, Attn: Sascha N. Rand
     (sascharand@quinnemanuel.com)              and          Matthew          Scheck
     (matthewscheck@quinnemanuel.com).

     A HEARING ON THE FINAL FEE STATEMENT WILL BE HELD ON
APRIL 17, 2025 AT 10:00 A.M. (ET) BEFORE THE HONORABLE JOHN T. DORSEY,
CHIEF UNITED STATES BANKRUPTCY COURT JUDGE, IN THE UNITED STATES
BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH MARKET
STREET, 5TH FLOOR, COURTROOM NO. 5, WILMINGTON, DELAWARE 19801.

     IN ACCORDANCE WITH THE INTERIM COMPENSATION ORDER AND
CONFIRMATION ORDER, IF NO OBJECTIONS ARE SERVED IN ACCORDANCE WITH
THE INTERIM COMPENSATION ORDER, THE COURT MAY GRANT THE RELIEF
REQUESTED IN THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.




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Dated: January 10, 2025           LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                  /s/ Kimberly A. Brown
                                  Adam G. Landis (No. 3407)
                                  Kimberly A. Brown (No. 5138)
                                  Matthew R. Pierce (No. 5946)
                                  919 Market Street, Suite 1800
                                  Wilmington, Delaware 19801
                                  Telephone: (302) 467-4400
                                  Facsimile: (302) 467-4450
                                  E-mail: landis@lrclaw.com
                                          brown@lrclaw.com
                                          pierce@lrclaw.com

                                  -and-

                                  SULLIVAN & CROMWELL LLP
                                  Andrew G. Dietderich (admitted pro hac vice)
                                  James L. Bromley (admitted pro hac vice)
                                  Brian D. Glueckstein (admitted pro hac vice)
                                  Christian P. Jensen (admitted pro hac vice)
                                  125 Broad Street
                                  New York, NY 10004
                                  Telephone: (212) 558-4000
                                  Facsimile: (212) 558-3588
                                  E-mail: dietdericha@sullcrom.com
                                          bromleyj@sullcrom.com
                                          gluecksteinb@sullcrom.com
                                          jensenc@sullcrom.com

                                  Counsel for the Debtors and Debtors-in-Possession




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